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                                    Closing - Dismissal 13 Page 1 of 1

                                    UNITED STATES BANKRUPTCY COURT

                                             Northern District of Georgia


In     Debtor(s)
Re:    Melanie Lawson Clark                                  Case No.: 18−63015−wlh
       5313 Redfield Road                                    Chapter: 13
       Atlanta, GA 30338                                     Judge: Wendy L. Hagenau

       xxx−xx−8326




                ORDER APPROVING ACCOUNT, DISCHARGING CHAPTER 13 TRUSTEE
                                  AND CLOSING ESTATE



      It appearing that the case of the above−named Debtor(s) was dismissed by Order of this Court, and

      It further appearing that the Chapter 13 Trustee herein has made distribution of all funds paid into the hands of
the Trustee by the Debtor(s) and has rendered a full and complete account thereof, and that said Trustee has
performed all other duties as required in the administration of said estate; and that said estate has been fully
administered,


IT IS HEREBY ORDERED that:
1. The account of the Chapter 13 Trustee is allowed and approved;
2. The Chapter 13 Trustee is discharged and relieved of the trust;
3. The estate is closed; and
4. The Clerk shall mail a copy of this order to the Debtor, the attorney for the Debtor(s), and the Trustee.




                                                             Wendy L. Hagenau
                                                             United States Bankruptcy Judge


Dated: October 3, 2018

Form 176
